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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
v. § Criminal No. 4:21-cr-00009
§
ROBERT T. BROCKMAN §

DECLARATION OF KATHRYN KENEALLY

I, Kathryn Keneally, declare as follows:

1. I am a member of the bar of the State of New York, the United States Supreme
Court, and various other federal courts. I am a partner of the law firm Jones Day, counsel
for the defendant Robert T. Brockman. I make this Declaration in support of Defendant
Robert T. Brockman’s Partial Opposition to the Government’s Motion for Discovery Order
Under Rule 17(c) and 45 CFR 14.512(e)(1)(@).

2. Attached hereto as Exhibit 1 is a copy of the April 9, 2020 letter from counsel to the
government and attachments to the letter, including diagnostic medical reports from three
doctors, letters from three doctors, and a forensic report.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in New York, New York on February 10, 2021.

oe :
